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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

United States of America,            )
                                     )
                  Plaintiff,         ) Case No. 1:07-CR-73-002
                                     )
     vs.                             )
                                     )
Kyron Thomas,                        )
                                     )
                  Defendant.         )

                                  O R D E R

           This matter is before the Court on Defendant Kyron

Thomas’s motion to suppress (Doc. No. 32).             In his motion,

Defendant moves for an order suppressing all evidence seized from

him on the grounds that the Middletown Police Department searched

him in violation of the Fourth Amendment.            Defendant also moves

for an order suppressing statements made by him on the grounds

that they were taken in violation of Miranda v. Arizona, 384 U.S.

436 (1966).    For the reasons that follow, Defendant’s motion to

suppress is not well-taken and is DENIED.

                                   I. Facts

           Sometime during the late morning hours of June 2, 2007,

the 911 operator in Middletown, Ohio received the following call

about an apparent assault taking place in the parking lot of the

Putt-Putt Golf Center:

           Caller: There’s a man hitting a woman in the parking
                   lot at Putt-Putt.

           911: There is.       Are they black or white?
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           Caller: Um. I’m looking for them now. One of my
                   employees told me they saw ‘em and I saw
                   them running around.

           911: Okay.

           Caller: Black.

           911: Black.

           Caller: They’re both black.

           911: Black male.       And she’s [sic] hitting a female.

           Caller: Uh. Yeah. Black.         They’re yelling at each
                   other.

           911: Are they near a car or what?

           Caller: They’re in the side parking lot of Putt-Putt.

           911: Are they near a car or what?

           Caller: Um. No. I was afraid to walk out there to see
                   if they saw me on the phone.

Government’s Exhibit 1.1       At the request of the 911 operator, the

caller gave her name, identified herself as the manager of the

Putt-Putt facility, and provided a phone number where she could

be contacted.     The operator ended the call by stating that she

would dispatch an officer to the scene.

           Middletown Police Officer Stephen Winters was the

patrolman dispatched in response to the 911 call.              According to

Officer Winters, when he arrived at the corner of State Route 122



     1
          Government’s Exhibit 1 is a CD-ROM recording of the
actual 911 call. The transcription of the call, as quoted above,
was performed by the Court, after listening to the recording
several times, and not by the official court reporter.

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and Commerce Drive, an intersection near the location of the

reported assault, he saw a green vehicle in the south parking lot

of the Putt-Putt facility.        A black female was standing outside

of the vehicle between the driver’s door and the passenger door.

She was arguing with the driver and the passenger, who were

inside in the front of the vehicle.           Doc. 51, at 10-11.       As he

watched, the female pulled her arm away from the vehicle and

tried to throw her purse or pocketbook at it.             Id. at 11.

           When Winters turned north onto Commerce, the vehicle

exited the parking lot and also went north on Commerce.                Winters

activated his lights and followed the vehicle for about a quarter

of a mile until it pulled into a hotel parking lot.               Winters

testified that on the brief drive to the hotel, the vehicle was

being driven erratically and the driver ignored several siren

blasts to pull over.       The vehicle eventually stopped crossways

across several parking spaces.         Winters testified that when he

exited his patrol car, he recognized the driver from previous

encounters as co-Defendant Brandon Davis.            Winters also said he

knew that Davis had a criminal record, albeit unspecified in the

current record.     Winters told Davis that he was investigating an

assault at the Putt-Putt and Davis responded that it was his

cousin and that she was walking back to Cincinnati.               Doc. No. 51,

at 12.




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           As he approached the vehicle, Winters noticed that the

passenger, Defendant Kyron Thomas, moving back and forth from his

body to the console of the vehicle.           Id. at 11.     On cross-

examination, Winters explained further that the Defendant’s head

kept rising and falling behind the headrest.             Doc. No. 70, at 22.

As Winters reached the driver’s side window, he could see that

the Defendant’s hands were coming from the area of the glove

compartment.     Id. at 22-23.      Although Winters did not expressly

admit it, a fair reading of his testimony indicates that he did

not actually see whether or not the Defendant had in fact placed

anything in or had taken anything out of the glove compartment.

Doc. No. 70, at 23-24.       Winters testified, however, that the

Defendant’s movements within the vehicle gave him concern that he

was concealing something in the glove compartment or on his

person.   Id. at 25.     Winters stated further that the Defendant’s

activities caused him to fear for his safety and so he waited for

a backup officer to arrive before he proceeded any further.                 Id.

When asked whether there was anything in the dispatch call that

indicated that drugs or guns might be an issue with this

investigation, Winters stated that he knew that the area was

known for drug trafficking and that he had served search warrants

and made several drug arrests there.           Id. at 57.       He also said

that the dispatch was for an act of violence.             Id.




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            Officer Burch arrived at the scene with Tosia

(pronounced “Tosha”) Clemons, the victim of the purported

assault, in his patrol car.2        With Burch on the scene, Winters

went directly to the passenger side of the vehicle and asked the

Defendant to step out.       Doc. No. 51, at 12-13.         When the

Defendant exited the vehicle, Winters told him that he was going

to perform a protective pat down.          Winters testified that upon

performing the pat down, he immediately felt a lump in the

Defendant’s pants pocket which, without manipulation, he

identified as being crack cocaine.          Id.    Winters based his

conclusion that the lump was crack cocaine on his experience of

making approximately 500 arrests for crack cocaine violations in

his career.    Id.    Winters handcuffed the Defendant, and then

reached in the pocket and removed what turned out to be 2.8 grams

of crack.    Doc. No. 70, at 38-39.        Winters then testified that

when he opened the door of the vehicle, he observed several

rounds of ammunition on the passenger side floor and console.

Doc. No. 51, at 13.      Winters placed the Defendant under arrest

for possession of crack cocaine.           Id.    A search of the interior

of the vehicle uncovered a .38 caliber Smith & Wesson revolver,




     2
          Winters testified that he went directly after the
vehicle when it left the Putt-Putt parking lot and radioed Burch
to stop and pick up Clemons. Clemons, on the other hand,
testified that Winters stopped to ask if she was alright, and
when she said she was, Winters proceeded after the vehicle.

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loaded with five rounds of ammunition, and a .32 caliber revolver

of unknown make and model.        Def. Ex. C.

           Winters told Clemons that he had retrieved crack from

the interior of the vehicle.         Id. at 15.     Clemons then informed

Winters that she, Davis, the Defendant, and another person, who

turned out be co-Defendant Albert Ward, were all staying in a

room at the hotel.       Clemons further told Winters that Ward was

the person of interest to the police.           Id. at 16.     According to

the police report submitted by the Defendant, Ward gave signed

consent for the officers to search the hotel room.               Def. Ex. C.

The search of the room discovered approximately 792 grams of

crack cocaine.     Id.

           The Defendant has also moved to suppress unspecified

statements as being given in violation of his Miranda rights.

However, Officer Winters testified that he could not recall the

Defendant making any statements to him.            Doc. No. 51, at 15.

Detective Tim Meehan, who interviewed the Defendant at the police

station, testified that he gave the Defendant the Miranda

warnings before questioning him.           Doc. No. 69, at 13.       Meehan

said that the Defendant indicated that he understood his Miranda

rights.   Id.

           On June 20, 2007, the grand jury returned a five count

indictment which, inter alia, charged the Defendant with

conspiracy to possess with intent to distribute in excess of 50


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grams of cocaine base, in violation of 21 U.S.C. § 846,

possession with intent to distribute in excess of 50 grams of

cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A),

possession with intent to distribute a Schedule II controlled

substance, to wit 2.81 grams of cocaine base, in violation of 21

U.S.C. §§ 841(a)(1) & (b)(1)(C), and maintaining a place for the

distribution of a Schedule II controlled substance, namely in

excess of 50 grams of cocaine base, in violation of 21 U.S.C. §

856.

           The Defendant now moves to suppress evidence seized by

the Middletown Police as being obtained in violation of his

Fourth Amendment rights.        The Defendant argues that Officer

Winters lacked a reasonable suspicion that a crime was being

committed in the first instance when he stopped the vehicle.                 The

Defendant then argues that Officer Winters lacked a reasonable

suspicion that he was armed and dangerous, and therefore,

pursuant to Terry v. Ohio, 392 U.S. 1 (1968), was not permitted

to conduct a pat down search or frisk of his outer clothing.                 The

Defendant next argues that police lacked probable cause to

conduct a warrantless search of the vehicle.             The Defendant also

argues that Officer Winters violated the Fourth Amendment by

seizing the crack cocaine from his pocket.             Finally, the

Defendant argues that his Fifth Amendment rights were violated

when the officer’s obtained statements from him without providing


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the Miranda warnings.       The Defendant, however, may have abandoned

this claim post-hearing because it does not resurface in his

reply brief.

                                II. Analysis

                       A. The Stop of the Vehicle

           If the police have a reasonable suspicion that criminal

activity is underway, they may detain the suspect for a

reasonable time to confirm or dispel their suspicion without the

stop ripening into an arrest.         United States v. Avery, 137 F.3d

343, 349 (6th Cir. 1997).        Whether reasonable suspicion existed

for the detention depends on the totality of the circumstances.

United States v. Martin, 289 F.3d 392, 397 (6th Cir. 2002).

“[T]he totality of the circumstances approach allows officers to

draw on their own experience and specialized training to make

inferences from and deductions about the cumulative information

available to them that might well elude an untrained person.”

Id. at 398 (citing United States v. Arvizu, 534 U.S. 266, 273

(2002)).   The Court must give due weight to the factual

inferences drawn by local law enforcement officers.               Id. (citing

Ornelas v. United States, 517 U.S. 690, 699 (1996)).               The

government bears the burden of establishing that the police had

reasonable suspicion to conduct an investigatory stop.                United

States v. Bueno, 21 F.3d 120, 125 (6th Cir. 1994).




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           In this case, Officer Winters’ stop of the Defendant

and Brandon Davis was instigated, at least in part, by the 911

call reporting an assault in progress.            Here, the 911 call is

entitled to be accorded a relatively high degree of reliability

in the reasonable suspicion analysis.           It was not an anonymous

phone call.    Rather, in addition to providing information

concerning the apparent assault to the police, the caller also

gave her name, stated that she was the manager of the Putt-Putt

center, and gave a phone number where she could be contacted.

Under similar circumstances, the Sixth Circuit concluded that a

known caller should be deemed as reliable as a known informant

because a known caller can be subjected to criminal penalties for

making a false report.       United States v. Long, 464 F.3d 569, 573-

74 (6th Cir. 2006).      In Illinois v. Gates, 462 U.S. 213 (1983),

the Supreme Court suggested that information provided by a known

person is nearly presumptively reliable in assessing whether the

police have probable cause to obtain a search warrant.                Id. at

233-34 (“[[I]f an unquestionably honest citizen comes forward

with a report of criminal activity-which if fabricated would

subject him to criminal liability-we have found rigorous scrutiny

of the basis of his knowledge unnecessary.”).             At a minimum,

however, the fact that the 911 call in this case was not

anonymous contributes largely to finding that Officer Winters had




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reasonable suspicion to conduct an investigatory stop of the

vehicle.    See Long, 464 F.3d at 573.

            Moreover, the information concerning the alleged

assault was corroborated to a large degree by Officer Winters’

firsthand observations.       The caller said that an assault was

taking place in the parking lot of the Putt-Putt center and

involved a black man hitting a black woman.            The assault, if

indeed there was one, was over by the time Officer Winters

arrived at the Putt-Putt facility.          Nevertheless, there was a

black woman standing in the parking lot arguing with two black

men in a vehicle.     Officer Winters testified that he could hear

the argument from his patrol car.          He also testified that he saw

Tosia Clemons throw her purse at the vehicle.             Clemons admitted

that the argument between her and the Defendant was

demonstrative, that she was out of control with her temper, and

that other people had probably seen her acting out.              Doc. NO. 71,

at 27-29.   Therefore, given all of this activity, which is not

inconsistent with at least the aftermath of an assault, Officer

Winters clearly had a reasonable basis to investigate further

whether an assault had in fact occurred.

            The Defendant argues, however, that Winters observed

interactions between Clemons and Defendant Davis and that,

therefore, there was no basis for Winters to believe that he had

assaulted Clemons.      Generally speaking, this in an accurate


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argument but it does not dispel Officer Winters’ reasonable

suspicion to proceed with an investigatory stop.              Even if

Defendant Davis was the only legitimate suspect in the reported

assault, the Defendant was riding with Davis in the vehicle and

in order to stop Davis, Officer Winters had to stop the Defendant

as well.   Thereafter, Winters’ attention was not directed to the

Defendant because he was potentially a suspect in a reported

assault, but rather because of his suspicious movements within

the interior of the truck.

           To recapitulate, Officer Winters had a reasonable

suspicion to conduct an investigatory stop of the green vehicle

for the reported assault, in which the Defendant was a passenger,

based on the 911 call and his observations of the activities in

the Putt-Putt parking lot when he arrived.            Defendant’s brief

erroneously focuses only on his conduct leading up to the stop.

The fact that the Defendant’s individual actions may not have

given rise to a reasonable suspicion that he had committed an

assault is not material as long as there was a reasonable

suspicion to stop Davis.       United States v. Perez, 440 F.3d 363,

371-72 (6th Cir. 2006)(“[A] moving vehicle may be stopped to

investigate an officer’s reasonable and articulable suspicion

that its occupants had engaged, were engaging, or were about to

engage in criminal activity.”) (citing United States v. Hensley,

469 U.S. 221, 226-27 (1985) and United States v. Place, 462 U.S.


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696, 702 (1983)) (emphasis added).          Importantly, the Defendant

does not argue that Officer Winters lacked a reasonable suspicion

to stop Davis to investigate the reported assault.

           Accordingly, Defendant’s motion to suppress based on

lack of reasonable suspicion for the stop of the vehicle is not

well-taken and is DENIED.

     B. The Frisk of the Defendant and Seizure of the Crack

           This is the main issue presented by Defendant’s motion

- whether Officer Winters had a reasonable suspicion to conduct a

Terry frisk of the Defendant.         If the frisk was permissible under

Terry, the question becomes whether Officer Winters violated the

Fourth Amendment by taking the crack cocaine from the Defendant’s

pants pockets.

           During a Terry stop, a police officer may conduct a

limited search for concealed weapons, if the officer believes

that a suspect may be dangerous.           United States v. Walker, 181

F.3d 774, 778 (6th Cir. 1999)(citing United States v. Strahan,

984 F.2d 155, 158 (6th Cir. 1993)).          “The officer need not be

absolutely certain that the individual is armed; the issue is

whether a reasonably prudent man in the circumstances would be

warranted in the belief that his safety or that of others was in

danger.”   Terry, 392 U.S. at 27.          The general test for the

allowable scope of law enforcement activity during a Terry stop

is whether “the surrounding circumstances give rise to a


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justifiable fear for personal safety.”           United States v. Garza,

10 F.3d 1241, 1246 (6th Cir. 1993)(quoting United States v.

Hardnett, 804 F.2d 353, 357 (6th Cir. 1986)).

             In this case, the principal reason articulated by

Officer Winters for believing that the Defendant was dangerous

was that he was making furtive gestures in the interior of the

vehicle.   Specifically, Officer Winters testified that he saw

Defendant’s head rising up and down behind the headrest and that

upon moving closer to the vehicle he saw Defendant’s hands

returning from the area of the glove compartment.              This led

Officer Winters to believe, based on his experience, that the

Defendant was either retrieving something or trying to conceal

something.    Doc. No. 70, at 23-24, 52.

             “Furtive movements made in response to a police

presence may also properly contribute to an officer’s

suspicions.”    United States v. Caruthers, 458 F.3d 459, 466 (6th

Cir. 2006).    The Caruthers Court stated, however, that “courts

must take care that [this] factor not be invoked cavalierly”

because police officers can subjectively categorize almost any

conduct as being suspicious.        Id. (quoting in part United States

v. Broomfield, 417 F.3d 654, 655 (7th Cir. 2005)(Posner, J.)).

Nevertheless, if the conduct at issue is sufficiently objective

and particularized, such as bending or leaning accompanied by arm

movements or the sound of an item being moved, indicating an


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attempt to conceal contraband or reach for a weapon, credence

will be given to the officer’s suspicions.            Id. at 467.      In

United States v. Clay, 181 Fed. Appx. 542 (6th Cir. 2006), the

Court concluded that the officer had reasonable suspicion to

conduct a Terry search of the interior of a car where in part he

saw the passengers make furtive movements in the direction of the

dashboard.    Id.     In United States v. Graham, 483 F.3d 431 (6th

Cir. 2007), the Court held that the officer had reasonable

suspicion for a Terry frisk where he saw the defendant dip his

right shoulder toward the floorboard of the car, a movement

consistent with an attempt to conceal a firearm.              Id. at 439.

             In contrast, in Joshua v. Dewitt, 341 F.3d 430 (6th

Cir. 2003), a habeas proceeding under 28 U.S.C. § 2254, the Court

held that an officer’s testimony concerning non-specific furtive

gestures was insufficient to establish reasonable suspicion for a

Terry search.       Id. at 443.   The Joshua Court observed that “[t]he

state trial record does not contain testimony that Petitioner or

his companion moved their bodies or arms to conceal anything or

to reach for any item.”       Id. at 443-44.      Thus, the Court was

“unable to discern specific and articulable facts to support the

trooper’s opinion that Petitioner made furtive gestures.”                Id. at

444.

             In this case, Officer Winters’ testimony that he was

concerned that the Defendant was armed and dangerous was


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supported by specific and articulable facts.             As stated, Officer

Winters testified that he saw the Defendant’s head bob up and

down behind the headrest and observed his hands retreating from

the area of the glove compartment.          As the decisions in

Caruthers, Clay, and Graham, have concluded, these kinds of

movements or gestures are consistent with attempting to conceal

or retrieve a weapon.      United States v. Wilson, 506 F.3d 488 (6th

Cir. 2007), cited by the Defendant in support of his contention

that Officer Winters lacked reasonable suspicion for a Terry

search, is distinguishable because in Wilson there was no

evidence that the passenger made any of the furtive gestures

observed by Officer Winters in this case.            Instead, as analyzed

by the Wilson Court, the only articulated reasons for frisking

the defendant/passenger were the words and actions of the driver,

the defendant’s extreme nervousness, and the fact that the

defendant did not own the car.         Id. at 495.

           Defendant argues that his gestures toward the glove

compartment could have been innocent, such as to retrieve the

vehicle’s registration information.          While this is true, “[a]

determination that reasonable suspicion exists . . . need not

rule out the possibility of innocent conduct.”             United States v.

Arvizu, 534 U.S. 266, 277 (2002).          The issue is not whether each

factor in isolation is susceptible of an innocent explanation,

but rather whether taken as a whole the factors are sufficient to


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form a particularized and objective basis for concluding that

reasonable suspicion existed.         Id. at 277-78.      As the Court

continues to explain further, the totality of the circumstances,

including the Defendant’s behavior inside the vehicle,

established a reasonable suspicion that he was armed and

dangerous.

             Accordingly, in this case, the Defendant’s furtive

movements within the interior of the vehicle properly factored

into Officer Winter’s suspicion that the Defendant was armed and

dangerous.

             Officer Winters also testified that he was concerned

because the area in which he stopped the vehicle was known as

high drug trafficking area.        In Caruthers, the Court stated that

the officer’s awareness that the area is known for crime is

relevant in assessing reasonable suspicion, but cautioned that

this factor requires careful examination because citing an area

as “high crime” could be a proxy for racial, ethnic, or socio-

economic profiling.      458 F.3d at 467.       The profiling concerns

highlighted by the Caruthers Court are not present in this case,

however.   The area where this encounter occurred does not appear

to be an inner-city area predominated by any particular racial,

ethnic, or socio-economic demographic.           Rather, the photographs

submitted by the Defendant indicate that the encounter took place

in an industrial park-type area, judging from what appears to be


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an access road and the hotels, businesses, and restaurants

depicted in the photos.       See Def. Ex. A.       Additionally, Officer

Winters testified without contradiction drug traffickers frequent

that area because there are four or five hotels nearby and that

he had been involved in several narcotics arrests in that

vicinity.   Doc. No. 70, at 57.        Thus, in this case, Officer

Winters’ awareness that this investigatory stop was taking place

in an area known for drug trafficking is an appropriate

consideration in determining whether there was reasonable

suspicion to frisk the Defendant.          See Caruthers, 458 F.3d at 468

(profiling concerns alleviated where defendant conceded that

intersection where he was stopped by police was high crime area).

            Finally, although Officer Winters did not observe the

Defendant engage in any activity or behavior which per se

indicated that he had committed the reported assault, the fact

the Officer Winters was investigating an assault in which the

Defendant at least fit the general description of the perpetrator

was a proper consideration to establish reasonable suspicion for

a Terry frisk.     United States v. Cook, No. 98-5457, 1999 WL

357788, at *2 (6th Cir. May 20, 1999).

            In summary, under the totality of the circumstances,

Officer Winters had a reasonable and articulable suspicion

sufficient to justify a Terry frisk of the Defendant.               The

Defendant’s furtive gestures, consistent with hiding or


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retrieving a weapon, particularly in the area of the glove

compartment, the officer’s awareness of the area’s reputation for

drug trafficking, and the type of crime he was investigating,

which involved a report of violence, all gave Officer Winters a

reasonable belief that the Defendant might be armed and

dangerous.

             Having concluded that Officer Winters was justified in

frisking the Defendant for weapons, the next issue is whether he

was justified in reaching into his pants pockets to retrieve the

crack cocaine during the pat down.          In Minnesota v. Dickerson,

508 U.S. 377 (1993), the Supreme Court adopted the “plain feel”

doctrine, stated as follows:

             If a police officer lawfully pats down a suspect’s
             outer clothing and feels an object whose contour or
             mass makes its identity immediately apparent, there has
             been no invasion of the suspect’s privacy beyond that
             already authorized by the officer’s search for weapons;
             if the object is contraband, its warrantless seizure
             would be justified by same practical considerations
             that inhere in the plain-view context.

Id. at 375-76.     In this case, Officer Winters’ frisk of the

Defendant was justified for the reasons just stated.               Officer

Winters further testified that he immediately and without

manipulation identified the lump in the Defendant’s pocket as

crack cocaine based on his experience of over 500 arrests

involving crack cocaine.       Doc. No. 51, at 13.        Officer Winters’

prior experience with crack cocaine arrests was sufficient to

establish probable cause to retrieve the lump from the

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Defendant’s pocket.      See, e.g., United States v. Whiteside, 22

Fed. Appx. 453, 461 (6th Cir. 2001);          United States v. Southard,

20 Fed. Appx. 304, 306 (6th Cir. 2001); United States v. Salvant,

No. 96-6167, 1997 WL 152036, at *3 (6th Cir. 1997).              Accordingly,

there was no Fourth Amendment violation caused by the warrantless

seizure of the crack from the Defendant’s pocket.

             Once Officer Winters discovered the crack, there was

sufficient probable cause to arrest the Defendant for possession

of narcotics.    Once the Defendant was under arrest, the police

officers were authorized to conduct a warrantless search of the

area within his immediate control, Chimel v. California, 395 U.S.

752, 762-63 (1969), as well as the automobile and any containers

in which contraband could be hidden.          California v. Acevedo, 500

U.S. 565, 580 (1991).      Thus, in this case, the warrantless search

and seizure of the pistols and ammunition from the glove

compartment and the floorboard did not violate the Fourth

Amendment.

             In summary, the record establishes that Officer Winters

had a reasonable suspicion to conduct a Terry frisk of the

Defendant for weapons and that his seizure of the crack cocaine

from his pants pockets was justified under the “plain feel”

doctrine.    The warrantless search and seizure of the guns and

ammunition from the vehicle was authorized as a search incident

to a lawful arrest.


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           Accordingly, for the reasons stated, Defendant’s motion

to suppress evidence seized at the time of his arrest is not

well-taken and is DENIED.

                          C. Miranda Violations

           As stated, Defendant appears to have abandoned his

motion to suppress based on Miranda violations.             In any event,

the uncontradicted evidence is that the Defendant did not make

any statements to Officer Winters that could be suppressed.

Detective Meehan testified that he advised the Defendant of his

Miranda rights before questioning and that the Defendant

indicated that he understood them.          Consequently, the Court finds

no Miranda violations on this record.

           Accordingly, Defendant’s motion to suppress statements

given to the police is not well-taken and is DENIED.



           IT IS SO ORDERED



Date February 26, 2008                  s/Sandra S. Beckwith
                                  Sandra S. Beckwith, Chief Judge
                                    United States District Court




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